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Scott Tinsley
1275 Central Blvd #155 men pnp onan
Brentwood, California 94513 reo Ud 2ud3 eh

Defendant in my Private
Capacity

District Court of the United States

In and For Northern California

 

 

 

) CASE NUMBER: AGI
Scott Tinsley,
)  ¢Cy23-0587
Plaintiff, )
Vs. ) CLAIM FOR DAMAGES UNDER
) UNDER THE AMERICANS WITH
KCM Brentwood, LLC ) DISABILITIES ACT, TITLE 42 §
Does 1-10, ) 12181, 12182, ET SEQ., TITLE 42
Defendants ) SECTION 1983, DEPRIVATION
) OF RIGHTS UNDER COLOR OF
) AUTHORITY
)
)
)
1. I, Scott Tinsley (hereinafter, "Defendant", "I", "me", my"), in my private

capacity rely upon Haines v. Kerner, 404 US 519 (1972), pursuant to the
limitations imposed upon me as Defendant and this Tribunal by Article II of the
Constitution For the United States of America. and the Fourth, Fifth, Fourteenth,

and Seventh Amendments to the Constitution of the united States of America, with

 

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authority and unalienable right to seek redress of grievances under the Americans
with Disabilities Act, Title 42, US Code §§ 12181, and 12182 and Civil Rights
violations for violation of the due process clause of the Fourteenth Amendment.
and object to the actions taken and omissions of the Defendantson the grounds
stated below. The court has jurisdiction under Article Three of the Constitution For
the United States of America and the Federal Statutes cited above.

2. I am a developmentally disabled adult, who has received a Social Security
payment, since I was 18 years old. Regional Center, a service bureau for disabled
people was receiving my monthly Social Security check and paying my bills from
the proceeds of these monthly checks. There was a lapse in my Social Security
payment recently because of an administrative requirement related to production of
records for a job I had at a hardware store. Regional Center had a duty to me to
resolve the administrative matter with the Social Security Administration on my
behalf, but failed to contact me or social security and failed to take steps to restore
my monthly Social Security disability check. The Defendant KCM Brentwood,
LLC, was receiving my monthly rent check from Regional Center regularly for
several years and suddenly the check stopped arriving because of the
administrative hold imposed by Social Security described above. The Defendant
KCM Brentwood, LLC at all times had a duty to give actual notice to me, the

Plaintiff of the fact that the rental payments from Regional Center had ceased

 

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because of errors and gross negligence by Regional Center, who is the Defendant’s
Social Security Rep Payee.

3. The Defendants had a duty to the Plaintiff, knowing that the rental
payments ceased in August of 2022, and that the rent was being paid by Regional
Center as the Rep Payee, to give me notice and opportunity to address the cause of
the delinquent rent and to contact Regional Center to make arrangements to correct
their negligent act that caused the Social Security payment to cease. Regional
Center is a large service center who provides services to developmentally disabled
adults throughout the East Bay-Area, and has the knowledge and familiarity with
the administrative procedures to resolve this issue easily.

4. The fact that the Defendant, KCM Brentwood, LLC my landlord did not
attempt to address the delinquent rent issue by discussing this issue with me, the
Plaintiff caused the delinquent rent to remain unpaid for four months. This is
discrimination against me as a disabled American, since the Defendants knew that
I was disabled and knew that I was unaware of the fact that the rent check was not
being sent by Regional Center, and the Defendants, and all of them could have
resolved the matter easily, knowing that as a disabled person who cannot manage
my own financial matters I was relying on Regional Center to restore the Social
Security check so that the landlord could be paid the monthly rent. This is also a

failure to make reasonable accommodations regarding the delinquent rent. The

 

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Defendants and all of them, knew that I, the Plaintiff, am developmentally disabled
and they had a duty to take swift action to address the issue of delinquent rent. The
Defendants, KCM Brentwood, has filed an Unlawful Detainer case against me
rather than talking to me about the delinquent rent, knowing that I had no way of
knowing that the rent check was not being paid by Regional Center. The
Defendants, and all of them had a duty to give me notice and opportunity to
address the delinquent rent so that I could contact Regional Center and ask them to
restore the monthly Social Security check to ensure that I would not be evicted.

5. I, Scott Tinsley, the Plaintiff, do deny that the Defendant has Powers to
enforce the UD Statutes in this matter because the Defendants did not take
corrective action in this matter, by notifying the Plaintiff, as discussed. The
Plaintiff violated my procedural and substantive due process rights under the
Fourteenth Amendment. Notice and opportunity is an essential element of due
process and must be provided for those who are in a fiduciary relationship to the

Defendant. See Fuentes v. Shevin, (1972) 407 U.S. 67, which states:

For more than a century the central meaning of
procedural due process has been clear: "Parties whose rights are
to be affected are entitled to be heard; and in order that they
may enjoy that right they must first be notified." Baldwin _v.
Hale, 1 Wall. 223, 233. See Windsor v. McVeigh, 93 U.S. 274;
Hovey v. Elliott, 167 U. S. 409; Grannis v. Ordean, 234 U.S.

 

 

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385. It is equally fundamental that the right to notice and an
opportunity to be heard "must be granted at a meaningful time
and in a meaningful manner." Armstrong v. Manzo, 380 U.S.
545, 552.

6. The Plaintiff knew that the Defendant is developmentally disabled and
needed to make reasonable accommodations because of his disability. This is a
violation of the Americans With Disabilities Act, Title 42 US Code, § 12181 and
12182, et Seq. This is also a violation of Title 42 US Code, § 1983, Deprivation of
Rights Under Color of Authority, since the Plaintiff filed an Unlawful detainer case
against the Defendant, rather than using a simple administrative process to resolve
the issue of late rent. The acts and omissions of the Defendants involved
oppression fraud and malice, and require exemplary damages.

7. With the fact that the Defendant is developmentally disabled and easily
qualifies for Social Security Disability benefits under federal law, this temporary
gap in payments could have been easily resolved and addressed by the Plaintiff by
contacting Regional Center if the Defendant had contacted me regarding the
delinquent rent.

8. A private party who is not a government agent or a government entity can

be held to be liable under Title 42 Section 1983 as a state actor, where the private

 

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party has invoked the powers of a government agency or entity to violate the rights
of a complainant. I ask the court to uphold my rights to due process of law
requested in this complaint filed against the Defendant and to each cause of action

asserted in the complaint.

Parties to the Case

9. I, Scott Tinsley, the Plaintiff am the Plaintiff, and I am suffering from a
developmental disability as an adult, and I have been relying upon Regional Center
to pay my rent from a Social Security check for which they are the payee. As
discussed, the Social Security disability check stopped arriving at Regional Center
for several months and I was unaware of this fact. My landlord, KCM Brentwood,
LLC, and Doe defendants never notified me of the delinquent rent and filed an
eviction against me, while discriminating against me and failing to make
reasonable accommodations which would have allowed me to make arrangements
to pay the rent. Therefore, the Defendants have failed to make reasonable
accommodations because of my disabilities as required under the Americans with
Disabilities Act. Reasonable accommodations would have been an attempt to tell
me about the delinquent rent checks so that I could make arrangements to resolve
the issues of late rent payments. I have reason to believe that there are

management employees working for the Defendants who participated in the

 

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violations of the laws cited above. I do not know at this time the names and
identities of these doe defendants but will amend this claim for damages when this
information becomes available.

10. I the Defendant, Scott Tinsley, herein declare and state that the Plaintiff:
engaged in acts that constitute violations of the Fair Debt Collection Practices
Act, fraud, The Americans With Disability Act, breach of contract and acts in
violation of the covenant of good faith and fair dealing. The Plaintiff has unclean
hands, having failed to resolve this matter administratively, which is surprising
since a social security recipient is a very reliable and financially stable renter,
normally, and yet the Plaintiff chose to file a UD case instead of using a simple
administrative process to resolve the issue of the loss of rent. By failing to give me
notice and opportunity to resolve the issue of unpaid rent and by failing to notify
me that the rent was not being paid, the Plaintiff created a housing crisis for me
that was entirely unnecessary. I am a developmentally disabled adult and I have
been receiving my only source of income through a service bureau called Regional
Center, which receives my social security payment each month and then pays my
monthly expenses, including rent. By failing to notify me of the lack of a monthly
payment, due to the negligence of Regional Center, my landlord created the legal
foundation for an eviction from my apartment, which deprives me of my housing

because of the landlord’s intransigence and negligent acts of failing to give me

 

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notice and opportunity to address the problem, and obtain a remedy through
contact with Regional Center. This is an act of bad faith because the landlord knew
that a third party was paying the rent and I would have no way of knowing that the
third party had failed to pay the rent for several months. Furthermore, the landlord
knew that I was receiving a rent check from Regional Center each month and knew
that I would not know that Regional Center was not paying the rent unless I was
given notice of that fact by the landlord. The Plaintiff by and through proxies and
agents, has failed to respond to the issues related and has suddenly filed this
unlawful detainer breaching a contract and violated the covenant of good faith and

fair dealing, and engaging in an act of bad faith.

11. The Plaintiff engaged in overt acts of (1.) misrepresentation (false
representation, concealment, or nondisclosure); (2) knowledge of falsity (scienter);
(3) intent to defraud (i.e., to induce reliance); (4) justifiable reliance; and (5)
resulting damage." (Molko v. Holy Spirit Assn. (1988) 46 Cal.3d 1092, 1108 [252
Cal. Rptr. 122, 762 P.2d 46]; see Seeger v. Odell (1941) 18 Cal.2d 409, 414 [115
P.2d 977, 136 A.L.R. 1291]; § 1709.) Only the last two elements are at issue in
this case, by failing to recognize that I, the tenant am mentally disabled and I am

incapable of responding to some of their requests related to tenancy.

 

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12. The claim has been made by the Plaintiff that I was not paying the rent
for four months, however they never contacted me to resolve the issue with
Regional Center as discussed above. This is deliberate negligence. They know that
Regional Center pays my monthly rent check each month because that is where the
monthly check has been coming from. Notice and opportunity is an essential

element of due process rights, see Simon v. Craft, 182 U.S. 427 (1901), which

states:
"The essential elements of due process of law are ... Notice and The
Opportunity to defend."
13. The landlord has engaged in acts of harassment and surveillance, which

is at times bizarre and annoying. I have been followed by the landlord’s employees
when shopping for groceries and when I walk into the retail shopping areas of
Brentwood. The landlord has entered my apartment when I have been away from
the apartment and widened the space under the door, so that they could insert a
camera under the door. They subsequently inserted a camera under the front door.
They have used an electronic device to obtain a visual image behind walls, which
they employed when I was taking a shower. While they did this I could hear them
commenting and critiquing my body.

14. The landlord is currently violating the terms and conditions of the

Americans with Disabilities Act, by discriminating against me because of my

 

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disability, knowing that I am not functioning with the normal adult intellectual
capacity that would enable me to understand a written contract and I am not in
control of the social security funds that are used to pay my monthly rent.

15. The Plaintiff has further filed this unlawful detainer as a discriminatory
action because, the social services agency that pays my rent directly, failed to pay
the rent for four months. The Plaintiff failed to notify me of the late rent as

discussed, so that I could rectify the situation.

FIRST CAUSE OF ACTION
Violation of the Fair Debt Collection Practices Act
16. I, the Plaintiff, do hereby incorporate by reference each of the above

paragraphs in this pleading as if fully incorporated herein.
The Defendants did hereby violate the Fair Debt Collection Practices Act by taking
an action that they could not take, since I am a developmentally disabled adult and
I could not have known that my rent check was not being paid because the rent was
being paid by Regional Center, a third-party agent acting as a payee of my social
security check. Pursuant to the Fair Debt collection Practices Act, I seek a remedy
under Title 15 US Code, §§ 1692e False Representations (5) The threat to take any

action that cannot legally be taken or that is not intended to be taken. Given that

 

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the Defendants knew that a third party was paying the rent and that I am
developmentally disabled, I am unable to know that my rent was not being paid,
and that the landlord either knew or should have known that I cannot be
discriminated against under the Fair Debt Collection Practices Act and the
Americans with Disabilities Act, Title 42, § 12182, et seq.

17. I seek declaratory and injunctive relieve under the statute.

SECOND CAUSE OF ACTION
Violation of the Americans with Disabilities Act

18. I, the Plaintiff, do hereby incorporate by reference each of the above
paragraphs in this pleading as if fully incorporated herein.

19. The Defendants either knew or should have known that it is unlawful to
discriminate against a developmentally disabled adult, especially where such
person does not know that the rent was not being paid and the Defendant could
easily have notified the Plaintiff of the delinquent rent so that the matter could be
resolved administratively. Pursuant to the Americans with Disabilities Act, Title
42, § 12182, Et Seq., it is unlawful to discriminate against a Developmentally
Disabled Adult and evict me rather than notify me of the delinquency of the rent

payments. It is also required that accommodations be made for disabled Americans

 

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I seek the statutory award of damages in the amount of $ 75,000.00 for a first-time

violation of the Americans with Disabilities Act.

THIRD CAUSE OF ACTION
Violation of Title 42, US Code, § 1983, Violation of the Fourteenth
Amendment, Due Process Clause

20. I, the Plaintiff, do hereby incorporate by reference each of the above
paragraphs in this pleading as if fully incorporated herein.

21. I, the Plaintiff, hereby ask for relief under Title 42 US Code § 1983,
which makes it unlawful for the Defendants to deprive me of my rights to due
process under the Fourteenth Amendment by failing to give me notice and
opportunity that the rent was not paid so that I could make contact with Regional
Center and address the delinquent rent issue. Under a decision by the US Supreme
Court in Adikes v. Kress, (1970) 398 US 144, the court ruled that a private party
can be held liable under Title 42 US Code, § 1983 where they are working with the
police or another government agency. The Court in Adikes v. Kress, supra, stated
the following:

Moreover, a private party involved in such a conspiracy, even

 

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though not an official of the State, can be liable under § 1983.
"Private persons, jointly engaged with state officials in the
prohibited action, are acting “under color' of law for purposes of
the statute. To act “under color' of law does not require that the
accused be an officer of the State. It is enough that he is a willful
participant in joint activity with the State or its agents," United States

v. Price, 383 U.S. 787, 794 (1966).[7]

22. The Defendants engaged the services of the Superior Court of Contra
Costa County in order to file this case and used the Contra Costa Superior Court as
a vehicle to violate all of the rights described herein, including the above-

described civil rights statute.

Relief Sought
23. I seek statutory damages in the amount of $ 75,000.00 for violation of
the Americans with Disabilities Act, and pursuant to Title 15, US Code § 1692k I
seek the statutory damages of $ 1, 000.00 dollars in accordance with the FDCPA
cited above. I also seek punitive damages in the amount of $ 30, 000.00 from the

Defendants for their acts of oppression fraud and malice.

Respectfully Submitted,

C Hh
Dated: February , 2023

 

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oso
By:
Scott Tinsley, In my Private Capacity

Verification

I have read the SECOND AMENDED COMPLAINT FOR DEPRIVATION OF RIGHTS
UNDER COLOR OF AUTHORITY AND VIOLATION OF THE AMERICANS WITH
DISIABILITIES ACT AND A VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES
ACT and know the contents thereof to be true; and the same is true of my own knowledge,
except to the matters which are therein stated on my information and belief, and as to those
matters I believe them to be true. The foregoing is true, correct, complete and not misleading
and made under penalty of perjury under the laws of the United States of America.

 

Sealed by the TAL act of my own hand on this q day of the
Ext SO OXY month, in the Year of our Lord, two thousand and twenty-three,
in the fourth century of the Independence of America.

Scott Tinsley

 

 

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